       CASE 0:05-cr-00147-MJD-RLE            Doc. 45     Filed 08/22/05     Page 1 of 1




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

                            * * * * * * * * * * * * * * * * * *

United States of America,

                       Plaintiff,
                                                          ORDER ADOPTING
       vs.                                          REPORT AND RECOMMENDATION

Todd Douglas Miller,

                       Defendant.                          Crim. No. 05-147(02) (MJD/RLE)

                            * * * * * * * * * * * * * * * * * *

       Based upon the Findings and Recommendation of United States Magistrate Judge

Raymond L. Erickson, and after an independent review of the files, records and proceedings in the

above-titled matter, IT IS ORDERED:

       That the Defendant’s Motion to Suppress Evidence Obtained as a Result of Search and

Seizure [Docket Nos. 35] is denied.




DATED: August 19, 2005                              s/ Michael J. Davis
                                                    Michael J. Davis, Judge
                                                    United States District Court
